
Tucker, P.,
delivered the opinion of the court: That under the will of the testator Slaughter, though the appellant Martha was entitled to but a life estate in the slave Lucy, and in her portion of the testator’s residuary estate, she was nevertheless entitled to the absolute property, use and enjoyment of the profits of the estate bequeathed to her; and therefore, the decree was erroneous in directing any portion of those profits to be converted into capital, whereof she should enjoy only a life estate. That, instead of reinvesting the profits, as directed by the decree, the surplus thereof in the hands of the trustee M’Oandlish, after having been duly ascertained by any proper proceeding, should be decreed to be presently paid to the female appellant, *628or her order, if she be of full age; and if she be yet an to be paid to her so soon as she shall attain to full age, or, in casé of her death during infancy, to ]ier representatives.
T-. Decree reversed, and cause remanded ror rurther, PROCEEDINGS.
